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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OFIOWA

lINITED STATES OF ttERICA,                 )

                                           ) Criminal No.4:23‐ cr‐ 158
                    V.                     )

                                           )
BRETT MICHAEL BAILEY,                      ) PLEA AGREEMENT
                                           )
                    Defendant.             )


      The United States of America (also referred to as "the Governmenf,') and the

Defendant, BRETT MICHAEL BAILEY, and Defendant's attorney, enter into this

Plea Agreement.

A.    CHARGES

       1.     Subiect Offenses. Defendant will plead guilty to Count 2 of the

Indictment, that is, Production of Child Pornography, in violation of Title 18, United

States Code, Sections 225L(a) and (e). Defendant will also plead guilty to Count 4 of

the Indictment, that is, Receipt of Child Pornography, in violation of Title 18, United

States Code, Sections 2252A(a)(2) and O)(1). Defendant also agrees to forfeiture of

a multiple electronic devices, as set forth in the Plea Agreement and listed in the

Indictment.

      2.      Charees Beine Dismissed. If the Court accepts this PIea Agreement,

Count 1 (Production of Child Pornography), Count 3 @roduction of Child
Pornography), Count 5 @ossession of Child Pornography), Count 6 @eceipt of Child

Pornography), Count 7 (Possession of Child Pornography), Count 8 (Possession of

ChildPornoglaphy), and Count 9 @ossessionof Child Pornography) of the Indictment
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will be dismissed at the time of senteneing. Defendant understands that, even though

Counts 1, 3, 5, 6, '1, I and 9 will be dismissed, all relevant conduct including the

conduct that supported the charges in Counts 1, 3, 5, 6, 7, 8 and 9 will be considered

by the Court at the time of sentencing.

B.    MA)(IMUM PENALTIES

      3.     Maximum and Mandatorrr Minimum Punishment. Defendant
understands that Count 2 @roduction of Child Pornography), to which Defendant is

pleading guilty, carries a mandatory minimum sentence of at least l5 years in prison

and a maximum sentence of 30 years in prison; a maximum fine of $250,000; and a

term of supervised release of no less than 5 years up to a maximum life term of

supervised release. Defendant understands that Count 4 (Receipt of Child

Pornography), to which Defendant is pleading guilty, carries a mandatory minimum

sentence of at least 5 years in prison and a maximum sentence of 20 years in prison;

a maximum fine of $250,000; and a term of supervised release of no less than 5 years

up to a maximum life term of supervised release. A mandatory special assessment

of $100 per count also must be imposed by the sentencing court, Defendant also

understands that, if the Court determines Defendant to be a non-indigent person,

pur.suant to Title 18, United States Code, Section 301a(a)(a), it shall impose an

assessment of $5,000 per count. Defendant understands that these sentences may

be imposed consecutively.

      4.     SupervisedRelease--Explained. Defendantunderstandsthat, during

any period of supervised release or probation, Defendant will be under court

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supervision and will be requiled to comply with certain conditions. If Defendant

were to violate a condition of supervised release, Defendant could be sentenced to not

more than five (5) years in prison, on any such revocation without any credit for time

previously served.

      5.     Detention. Pursuant to the Mandatory Detention for Offenders
Convicted of Serious Crimes Act (18 U.S.C. S 3143), Defendant agrees to remain in

custody following the completion of the entry of Defendanf,s guilty plea to await the

imposition of sentence.

C.    NATURE OF THE OFFENSE - FACTUAL BASIS

      6.     Elements Understood. Defendant understands that to prove the

offense alleged under Count 2 (Production of Child Pornography), the

Government would be requiled to prove beyond a reasonable doubt the following

elements:

             (a)     On June L2,2020, Minor Victim #1 was under the age of eighteen
                     years;

             G) On that date, the Defendant knowingly employed, used,
                     persuaded, induced, enticed, or coercedMinorVictim#l to engage
                     in sexually explicit conduct;

             (c)     The Defendant acted with the purpose of producing a visual
                     depiction of such conduct; and

             (d)     The visual depiction was produced using materials that had been
                     mailed, shipped, or transported across state lines or in foreign
                     commeree by any means.




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      Defendant understands that to prove the offense alleged under Count 4

(Receipt of Child Pornography), the Government would be required to prove

beyond a reasonable doubt the following elements:

            (a)    From about September 2022 to about October 2023, Defendant
                   knowingly received visual depictions of child pornography;

            0)     Defendant knew the visual depictions were of minors engaging in
                   sexually explicit conduct, namely lasciviously exhibiting their
                   genitals or engaged in sex acrs;
                                                    T.l,,u S*f r.S
            (C)    The visual depictions had beenliling any means or facility of
                   interstate or foreign commerce, shipped or transported in ot
                   affecting interstate or foreign commerce by any means, including
                   by computer.

      7     Factual Basis. As a factual basis for Defendant's pleas of guilty,

Defendant admits the following:

            (a)    Minor Victim #1 was 12 years of age on June 12, 2020.
                   Defendant was 32 years of age during June 2020 and resided in
                   Des Moines, Iowa. Defendant knew Minor Victim #1's age at all
                   times relevant to this matter.

            0)     On or about June 12,2l2o,Defendant knowingly employed, used,
                   persuaded, induced, enticed, and coerced Minor Victim #1 to
                   engage in sexually explicit conduct with the purpose of producing
                   a visual depiction of such conduct. Specifically, on June 12,
                   2020, Defendant sexually abused Minor Victim #1 in Des Moines.
                   More specifically, Defendant used a cell phone to film Minor
                   Victim #1's crotch, film Defendant pulling Minor Victim #1's
                   underwear aside with his hands exposing Minor Victim #1's bare
                   genitals, and film Defendant then touching Minor Victim #l's
                   bare genitals with Defendant's fingers. Defendant acted with
                   the purlpose of producing a visual depiction of Minor Victim #1
                   engaging irr sexually explicit conduct, that is, a Iascivious
                   exhibition of Minor Victim #1's genitals. Defendant made a
                   video of some portion of such conduct using Defendant's cellular
                   phone, a device that was not manufactured in the State of Iowa.
                   The videos of this conduct that Defendant cleated included a
                   video bearing a file name "QVR-2020-06-12-11-38-29.mp4' that
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                  was approximately 21 seconds in length and a video bearing a file
                  name "QVR-2020-06-12-11-31-51-trim.mp4' that was
                  approximately 11 seconds in length. These files were
                  transferred to and saved on Defendant's CyberPower PC C Series
                  tower computer with numerous hard drives and a solid-state
                  drive within. Neither this computer nor the drives within were
                  manufactured in the State of Iowa.

            (c)   On Octobe,* 25, 2023, law enforcement officers executed a search
                  warrant at Defendant's residence in Des Moines, Iowa. Police
                  seized multiple electronic devices that belonged to Defendant
                  from his residence, including Defendant's CyberPower PC C
                  Series tower computer with numerous hard dr{ves and a solid-
                  state drive within. On this computer were thousands of video
                  files and thousands of image files of child pornography-that is
                  fiIes depicting minors lasciviously exhibiting theil genitals and/or
                  engaged in sex acts-that Defendant downloaded utilizing the
                  internet. Defendant knew that the files he was downloading
                  onto his computer were child pornography and Defendant
                  knowingly and intentionally downloaded them onto his computer
                  from the internet fr'om at least during or about September 2022
                  to during or about October 2023. The internet is a facility of
                  interstate commerce. Defendant downloaded at least some of
                  this child potnoglaphy in the Southern District of Iowa.

            (の    As relevant conduct to the offense, Defendant admits:

                   (i)   At the search warrant, police also seized Defendant's
                         Samsung, Model SM-A526U cellular telephone, a Lenovo
                         ThinkPad laptop computer with solid state drive within,
                         and a Samsung, Model SM-G975U cellular telephone. On
                         each of these devices were numerous flles of child
                         pornography that Defendant had knowingly and
                         intentionally downloaded from the internet.

      8.    Truthfulness of Factual Basis. Defendant acknowledges that the above

statements ale true. Defendant understands that, during the change of plea

hearing, the judge and the prosecutor may ask Defendant questions under oath about

the offense to which Defendant is pleading guilty, in the presence of Defendant's

attorney. Defendant understands that Defendant must answer these questions
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truthfully, and that Defendant can be prosecuted for perjury if Defendant gives any

false answers.

      9.     Waiver of RuIe 410 Riehts. The Defendant expressly waives
Defendant's rights under Rule 410 of the Federal Rules of Evidence and agrees that

all factual statements made in this plea agreement, including under the Factual
Basis, are admissible against the Defendant. Should Defendant fail to plead guilty

pursuant to this plea agreement or move to withdlaw his plea or to set aside

Defendant's conviction, then these admissions may be used against Defendant in the

Government's case-in-chief and otherwise, including duling the continuing

prosecution of this case.

       10. Venue. Defendant agrees that venue for this case is proper for the
United States District Court for the Southern Disttict of Iowa.

D.    SENTENCING

       11. Sentencine Guidelines. Defendant understands that Defendanf,s
sentence will be determined by the Court after considering the advisory United States

Sentencing Guidelines, together with other factors set forth by law. The Sentencing

Guidelines establish a sentencing range based upon factors determined to be present

in the case, which include, but are not limited to the following:

             (a)    The naturc of the offenses to which Defendant is pleading guilty;

             (b)    The nature of the images involved, including the age of the
                    children depicted, the nature of the sexually explicit conduct, and
                    the number of such images;

             (c)    The age of the minor involved in the offenses under USSG
                    s2G2.1(bX1);
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            (①     Whether the offenses involved the commission of a sexual act or
                   sexual contact under USSG $2G2.1O)(2)(A);

            (e)    Whether the offenses involved material that portrays sadistic or
                   masochistic conduct or other depictions of violence or an infant or
                   toddler under USSG S2G2.1O)( );

            (f)    Whether Defendant was a parent, relative, or legal guardian of
                   the minor involved with the offense, or if the minor was otherwise
                   in the custody, care, or supervisory control ofthe Defendant under
                   ussc s2G2.1G)(5);
            (g)    Whether defendant engaged in a pattern of activity involving
                   prohibited sexual conduct under USSG $aB1.5(b);

             (h)   The natule and extent of Defendant's criminal history (prior
                   convictions);

             (r) whether Defendant attempted to obstruct justice in the
                   investigation or prosecution of the offense; and

             ()    Acceptance or lack of acceptance of responsibility.

Defendant understands that, under some cilcumstances, the Court may "depart" or

"vary" from the Sentencing Guidelines and impose a sentence more severe or less

severe than provided by the guidelines, up to the maximum in the statute of

conviction. Defendant has discussed the Sentencing Guidelines with Defendant's

attorney.

      12. Acceptance of Responsibilitv. The Government agrees as a
recommendation to the District Court that Defendant receive credit for acceptance of

responsibility under USSG $381.1(a). The Government reserves the right to oppose

a reduction under SBE1.1(a) if after the plea proceeding Defendant obstructs justice,

fails to cooperate fully and truthfully with the United States Probation Office,
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attempts to withdlaw Defendant's p1ea, or otherwise fails to clearly demonstrate

acceptance of responsibility. If Defendant qualifies fot a decrease under $ 381.1(a),

and the offense level is 16 or above prior to the application of $ 3E1.1(a), as

determined by the Court, the Government agrees to make a motion to the District

Court that Defendant should receive an additional l-level reduction under USSG

$381.1@), based on timely notification to the Government of Defendant's intent to

plead guilty. The government may withhold this motion based on any interest

identified in USSG S 3E1.1.

      13. Presentence Report. Defendant understands that the Court may defer
a decision as to whether to accept this PIea Agreement until after a Presentence

Report has been prepared by the United States Probation Offrce, and after

Defendant's attorney and the Government have had an opportunity to review and

challenge the Presentence Report. The parties are free to provide all relevant

information to the Probation Office for use in preparing a Presentence Report.

      14, Disclosure of Presentence Investieation Reports. The United States
District Court for the Southern District of Iowa has issued the following
Administrative Order:

      The presentence investigation repolt is a sealed and confidential document.
      Unless specifically authorized by the district court, a defendant may not
      disseminate, disclose, or distribute a presentence investigation report, or any
      part or page of a presentence investigation leport, in eithet draft or final form.
      A defendant who violates this order, may be subject to prosecution for contempt
      of court under 18 U.S.C. S 401(3). This order does not apply to a defendant's
      review of a presentence investigation report with the defendant s own attorney.

Defendant acknowledges and understands this order.


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      15. Evidence at Sentencine. The parties may make whatever comment and
evidentiary offer they deem appropriate at the time of sentencing and entry of plea,

provided that such offer or comment does not violate any other provision of this Plea

Agreement. Nothing in this PIea Agreement restricts the right of Defendant or any

victim to make an allocution statement, to the extent permitted under the Federal

Rules of Criminal Procedure, nor does this PIea Agreement convey any rights to

appear at proceedings or make statements that do not otherwise exist.

      16. Sentence to be Decided by JudEe -- No Promises. This Plea Agreement
is entered pursuant to Rule 11(c)(1XA) of the Federal Rules of Criminal Procedure.

Defendant understands that the final sentence, including the application of the

Sentencing Guidelines and any upward or downward departures, is within the sole

discretion of the sentencing judge, and that the sentencing judge is not required to

accept any factual or legal stipulations agreed to by the parties. Any estimate of the

possible sentence to be imposed, by a defense attorney or the Government, is only a

prediction, and not a promise, and is not binding. Therefore, it is uncertain at this

time what Defendant's actual sentence will be.

      17. No RiEht to Withdlaw Plea. Defendant understands that Defendant
will have no right to withdraw Defendant's plea if the sentence imposed, or the
application of the Sentencing Guidelines, is other than what Defendant anticipated,

or if the sentencing judge declines to follow the parties' recommendations.




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E.    FORFEITURE, FINES, COSTS, AND RESTITUTION

      18. Forfeiture. Defendant agrees to forfeiture of the property identified in
the Indictment, including a CyberPower PC C Series tower computer with numerous

hard dtives and a solid state drive within, a Samsung, Model SM-A526U cellular

telephone, a Lenovo ThinkPad laptop computer with solid state drive within, and a

Samsung, Model SM-G975U cellular telephone. Defendant will execute any

documents as directed by the Government to complete the forfeiture.

      19. Waivers Reeardine Forfeitute. Defendant waives all challenges,
including but not limited to statutory, factual, equitable, procedural, and

constitutional challenges, in any manner (including direct appeal, habeas corpus, or

any other means) to any forfeiture carried out in accordance with this Plea Agreement

on any grounds. Defendant fiu'ther agrees that the forfeiture provisions of this PIea

Agreement are intended to, and will, survive Defendant notwithstanding the

abatement of any underlying criminal conviction afler execution of this PIea

Agreement. The forfeitability of any particular property pursuant to this agreement

shall be determined as if Defendant had survived and that determination shall be

binding upon Defendant's heirs, successors and assigns until the agreed forfeiture,

ineluding any agreed money judgment amount, is collected in full.

      20. Consent to JudEment of Forfeiture. Defendant agrees to waive all
interest in property subject to this Plea Agreement in any administrative or judicial

forfeiture proceeding, whether criminal or civil, state or federal. Defendant agrees

to consent to the entry of orders of forfeiture for such property and waives the

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requirements of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice

of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment. Defendant

understands that the forfeiture of assets is part of the sentence that may be imposed

in this case.

       2L. Fines and Costs. Issues relating to fines and/or costs of incarceration
are not dealt with in this agreement, and the parties are fi'ee to espouse their

respective positions at sentencing.

       22. Special Assessment. Defendant agrees to pay the mandatory special
assessment of $100 per count of conviction at or before the time of sentencing, as

required by 18 U.S.C. S 3013. Defendant further understands that, if the Court

determines the Defendant to be a non-indigent person, pursuant to Title 18, United

States Code, Section 3014(a)(3), it shall impose an assessment of $5,000 per count.

       23. Restitution. Defendant agrees that the Court shall order restitution for
all relevant conduct including all conduct related to the dismissed counts, in an

amount to be determined by the Couft; that such order of restitution shall be due and

payable immediately; and that if Defendant is not able to make full payment

immediately, Defendant shall cooperate with the United States Probation Office in

establishing an appropriate payment plan, which shall be subject to the approval of

the Court, and thereafter in making the required payments. Any such payment plan

does not preclude the Government from utilizing any collections procedures pursuant

to the Federal Debt Collections Act and including the Treasury offset program.
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F.    LIMITED SCOPE OF AGREEMENT
      24. Limited Scope of Asreement. This Plea Agreement does not limit, in
any way, the right or ability of the Government to investigate or prosecute Defendant

for crimes occurring outside the scope of this Plea Agreement. Additionally, this

Plea Agreement does not preclude the Government from pursuing any civil or

administrative matters against Defendant, including, but not limited to, civil tax

matters and civil forfeiture which arise fl'om, or are related to, the facts upon which

this investigation is based.

       25. Aereement Limited to Southern District of Iowa. This Plea Agreement
is limited to the United States Attorney's Office for the Southern District of Iowa, and

cannot bind any other federal, state or local prosecuting, administrative, or

regulatory authorities.

       26, Sex Offender Reeistry. Defendant understands that by pleading guilty,
Defendant will be requiled to register as a sex offender upon Defendants release flom

prison as a condition of supervised release pursuant to f8 U.S.C. $ 3583(d).

Defendant also understands that independent of supervised release, Defendant will

be subject to federal and state sex offender registration requirements, and that those

requirements may apply throughout Defendant's life. Defendant understands that

Defendant shall keep Defendant's registration culrent, shall notrfr the state sex

offender registration agency or agencies of any changes to Defendant's name, place of

residence, employment, or student status, or relevant information. Defendant shall

comply with requirements to periodically verifr in person Defendant's sex offender


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registration information. Defendant understands that Defendant will be subject to

possible federal and state penalties for failure to comply with any such sex offender

registration requirements. Defendant further understands that, under 18 U.S.C. $

4042(c), notice will be provided to certain law enforcement agencies upon Defendant's

release from confinement following conviction. As a condition of supervised release,

Defendant shall initially register with the state sex offender registration in the state

of Iowa, and shall also legister with the state sex offender registration agency in any

state where Defendant resides, is employed, works, or is a student, as directed by the

Probation Officer. Defendant shall comply with all requirements of federal and state

sex offender registration laws, including the requirement to update Defendant's

registration information. Defendant shall provide proof of registration to the

Probation Officer within 72 hours of release from imprisonment.

       27. Victim not a party to this Aereement. Defendant understands that
neither Minor Victim #1 nor Minor Victim #1's parent/guardian are a party to this

Plea Agreement, and that any "restitution" amounts applicable to this criminal case

do not resolve any claims that such individuals may have against Defendant.

Defendant understands that such individuals remain free to pursue all lawful civil

remedies they may deem appropriate.

G.    WAIVER OF TRIAL, APPEAL AND POST-CONYICTION RIGHTS

       28. Trial Riehts Explained. Defendant understands that this guilty plea
waives the right to:

             (a)       continue to plead not guilty and requir.e the Government to prove
                       the elements of the crime beyond a reasonable doubt;

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             (b)   A speedy and public trial by july, which must unanimously find
                   Defendant guilty before there can be a conviction;

             (c)   The assistance of an attorney at all stages of trial and related
                   proceedings, to be paid at Government expense if Defendant
                   cannot afford to hire an attorney;

             (d)   Conflont and cross-examine adverse witnesses;

             (e)   Present evidence and to have witnesses testify on behalf of
                   Defendant, including having the court issue subpoenas to compel
                   witnesses to testifu on Defendant's behalf;

             (0    Not testifu or have any adverse inferences drawn from the failure
                   to testify (although Defendant also has the right to testifu, if
                   Defendant so chooses); and

             (s)   If Defendant is convicted, the right to appeal, with the assistance
                   of an attorney, to be paid at Government expense if Defendant
                   cannot afford to hire an attorney.

      29. Waiver of Apneal and Post-Conviction Review. Defendant knowingly
and expressly waives any and all rights to appeal Defendant's conviction in this case,

including a waiver of all motions, defenses and objections which Defendant could

assert to the charges or to the court's entry of judgment against Defendant; except

that both Defendant and the United States preserve the right to appeal any sentence

imposed by the Court, to the extent that an appeal is authorized by law. Also,

Defendant knowingly and expressly waives any and all rights to contest Defendant's

conviction and sentence in any post-conviction proceedings, including any

proceedings under 28 U.S.C. S 2255. These waivers ale full and complete, except

that they do not extend to the right to appeal or seek post-conviction reliefbased on

grounds of ineffective assistance of counsel or prosecutorial misconduct.


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H.    VOLUNTARINESS OF PLEA AND OPPORTUNITY TO CONSULT
      WITH COUNSEL

      30. Voluntariness ofPIea. Defendant represents that Defendant's decision
to plead guilty is Defendant's own, voluntaly decision, and that the following is true:

             (a)    Defendant has had a fuII opportunity to discuss aII the facts and
                    circumstances of this case with Defendant's attorney, and
                    Defendant has a clear understanding of the charges and the
                    consequences of this plea, including the maximum penalties
                    provided by law.

             0)     No one has made any promises or offered any lewards in return
                    for this guilty plea, othel than those contained in this written
                    agI.eement.

             (c)    No one has threatened Defendant or Defendant's family to induce
                    this guilty plea.

             (d)    Defendant is pleading guilty because in truth and in fact
                    Defendant is guilty and for no other reason.
       ００




             Consultation with Attornev. Defendant has discussed this case and

this plea with Defendant's attorney and states that the following is true:

             (a〉    Defendant states that Defendant is satisfied with the
                    representation provided by Defendant's attorney.

             ⑭)     Defendant has no complaint about the time or attention
                    Defendant's attorney has devoted to this case nor the advice the
                    attorney has given.

             e)     Although Defendant's attorney has given Defendant advice on
                    this guilty plea, the decision to plead guilty is Defendant's own
                    decision. Defendant's decision to enter this plea was made after
                    full and careful thought, with the advice of Defendant's attorney,
                    and with a frrll understanding of Defendant's rights, the facts and
                    circumstances ofthe case, and the consequences of the plea.




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I.    GENERAL PROVISIONS

      32. Entire Asreement. This Plea Agreement, and any attachments, is the
entire agreement between the parties. Any modifications to this Plea Agreement

must be in writine and signed by all parties.

      33. Public Interest. The parties state this PIea Agreement is in the public
interest and it takes into account the benefit to the public of a prompt and certain

disposition of the case and furnishes adequate protection to the public interest and is

in keeping with the gravity of the offense and promotes respect for the law.

      34. Execution/Effective Date. This Plea Agreement does not become valid
and binding until executed by each of the individuals (or their designated
representatives) shown below.




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J。      SIGNATURES
        35. Defendant. I have read all of this Plea Agreement and have discussed
it with my attorney. I fully understand the Plea Agreement and accept and agree to
it without reservation. I do this voluntarily and of my own free will. No promises
have been made to me other than the promises in this Plea Agreement. I have not

been threatened in any way to get me to enter into this Plea Agreement. I am

satisfied with the services of my attorney with regard to this Plea Agreement and

other matters associated with this case. I am entering into this Plea Agreement and

will enter my plea of guilty under this Agreement because I committed the crime to

which I am pleading Suilty. I know that I may ask my attorney and the judge any

questions about this Plea Agreement, and about the rights that I am giving up, before

entering into the plea of guilty.




        Date



        36. Defendanf,s Attornev. I have read this Plea Agreement and have
discussed it in its entirrty with my client. There is no Plea Agreement other than

the agreement set forth in this writing. My client fully understands this Plea

Agreement. I am satisfied my client is capable of entering into this PIea Agreement,

and does so voluntarily of Defendant's own free will, with full knowledge of

Defendant's legal rights, and without any coercion or compulsion. I have had fuII

aecess to the Government's discovery materials, and I believe there is a factual basis
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for the plea. I concur with my client entering into this Plea Agleement and in

entering a plea of guilty pursuant to the Plea Agr'eement.


           L/8/t,tt,
      Date                                     oseph D. Herrold
                                              Attotney for Brett Michael Bailey
                                              Federal Public Defender's Office
                                              400 locust Street
                                              Suite 340, Capital Square
                                              Des Moines, IA 50309
                                              Tele: (515) 309-9630
                                              E-mail: joe_herrold@fd.olg


      37   .   United States. The Government agrees to the terms of this Plea

Agr.eement.

                                              Richald D. Westphal
                                              United States Attolney

                                       By:

                                              Assistant United States Attolney
                                              U.S. Coulthouse Annex, Suite 286
                                              110 East Court Avenue
                                              Des Moines, Iowa 50309
                                              Tele: 515-473-9300
                                              E-mail: Adam.Kerndt@usdoj. gov




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